                             IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF ALABAMA
                                        NORTHERN DIVISION

In re:       SARAI SERVICES GROUP, INC.1                 )
                                                         )            Case No.: 18-82948-CRJ-11
                                                         )
                                                         )
             Debtor.                                     )            CHAPTER 11
_______________________________________)

           ORDER APPROVING APPLICATION TO EMPLOY REALTOR NUNC PRO TUNC

          This matter came before the Court for hearing upon the Debtor’s Application to Employ
Crunkleton and Associates, LLC as Realtor Nunc Pro Tunc filed on December 18, 2018 (Doc. 73). After
proper notice, a hearing was held on January 7, 2019, with appearances by Tazewell T. Shepard IV on
behalf of the Debtor, Joe A. Joseph on behalf of National Bank of Commerce (“NBC”), Richard O’Neal
via telephone on behalf of the United States of America, and Richard M. Blythe on behalf of the Bankruptcy
Administrator.

        Upon consideration by the Court and based upon the agreement stated on the record between the
Debtor and NBC, it is hereby

        ORDERED, ADJUDGED and DECREED that the Debtor’s Application to Employ Crunkleton
and Associates, LLC as Realtor is hereby APPROVED Nunc Pro Tunc, subject to the following conditions:

             Upon receipt of any offer received on the properties listed, whether for sale or lease, the Debtor
             and employed Broker shall communicate such offers to NBC;

             Before responding to any offers received, whether for sale or lease, the Debtor and employed
             Broker will consult with NBC and its Counsel regarding acceptance or counter-offer on the
             properties listed; and

             If the Debtor does not receive a signed purchase agreement within 12 months of the date this Order
             is entered, this Employment Agreement will terminate without further Order of this Court.

Dated this the 11th day of January, 2019.

                                                              /s/ Clifton R. Jessup, Jr.
                                                              Clifton R. Jessup, Jr.
                                                              United States Bankruptcy Judge
Prepared by:
Tazewell T. Shepard IV
Attorney for Debtor


Approved by:
Joe A. Joseph
Attorney for NBC


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        In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWWJV LLC, Case No.
18-82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11; and CM Holding, Inc., Case No. 18-
82951-CRJ-11.




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